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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
 v.                                              )
                                                 )         CR: 4:20-cr-00088-RSB-CLR
 TONI DE LANOY                                   )
                                                 )
                                                 )

                                           ORDER

       The Court hereby GRANTS E. Bart Daniel, counsel appearing for Defendant Toni De Lanoy,

his Motion for Leave of Absence [docket entry number 58], which protects him from hearings or any

other Court appearances during the dates of August 1, 2022 through August 8, 2022.

       SO ORDERED, this VW day of May, 2022.




                                 By:
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                                       UNITED STATES 0$*,675$7
                                                     0$*,675$7( JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
